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                EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 2022-20104-CR


   UNITED STATES OF AMERICA,                        §
                                                    §
           Plaintiff,                               §
                                                    §   CASE NO. 2022-20104-CR
   VS.                                              §
                                                    §
   ANTONIO INTRIAGO,                                §
                                                    §
           Defendant.                               §
                                                    §

           DECLARATION OF CORRECTIONAL OFFICER ASHLEY PHILLIPS
         I, Ashley Phillips, do hereby declare the following statement is true and correct to the
  best of my knowledge and belief.
         1. I am currently employed by the United States Government, Federal Bureau of Prisons
  (“BOP”) as a Correctional Officer at the Federal Detention Center at Miami, Florida (“FDC
  Miami”). I am the property officer for the Special Housing Unit (SHU).
         2. Regarding an inmate’s personal property while in the SHU, the normal procedure is
  that all of the inmate’s property is first placed in the SHU property room upon admittance to the
  SHU. I then inspect all of an inmate’s property for contraband and for unauthorized items. Some
  property is not contraband but is not authorized for an inmate to have in his SHU cell. Such
  property is kept in the SHU property room and returned when an inmate checks out of the SHU.
  On November 14, 2024, Inmate Antonio Intriago (44334-510) was admitted into the SHU and all
  of his personal property was placed in the SHU property room.
         3. On November 18, 2024, I inspected Mr. Intriago’s property. His property consisted of
  lots of paperwork in a large accordion file. While most of the paperwork was legal paperwork,
  there were some papers that were non-legal and looked to be educational paperwork. I allowed
  Mr. Intriago to keep the five manilla envelopes of apparent legal work in his SHU cell. I did this
  because Mr. Intriago was only admitted to SHU at Miami FDC for court attendance. Normally,
  SHU inmates can only keep 24 pages of legal paperwork in their SHU cell. When they want to
  review the rest of their legal file, we allow them to do so in law library. I then kept the accordion



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  file and the non-legal documents in the SHU property room. I documented that he received back
  his legal paperwork through a BOP Property Form known as a BP-383, which is attached here.
         4. When Mr. Intriago checked out of Miami FDC on December 5, 2024, I remember
  releasing his accordion binder and the non-legal documents from the property room.
         I declare under penalty of perjury and pursuant to 28 U.S.C. § 1746 that the foregoing is
  true and correct to the best of my knowledge.

         Executed this on this 14th of January 2025.



                                                             _______________________
                                                             Officer A. Phillips




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              ATTACHMENT 1
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